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            UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

                                      Minutes of Proceeding

 November 19, 2018                                            Honorable Cathleen D. Parker, Presiding
                                                                              Teleconference hearing
 In re:
                                                                              Case No. 1716783 CDP
 Lawrence Vernon Drake and Teresa Linda Drake
                                                                                           Chapter 7

    Debtors

 Appearances:

 Debtor       Lawrence Vernon Drake and Teresa      Counsel     Karen Kealy-Oldham
              Linda Drake
 Creditor     Donald Wheat                          Counsel     Darrell M. Daley

Proceedings: Hearing on Debtors' Objection to Proof of Claim Number 1 filed by Donald Wheat (ECF No.
47) and Response filed by Donald Wheat

Orders:

       This matter came before the court on November 14, 2018 and is continued until the resolution
of the pending adversary proceeding.



                                                 BY THE COURT



                                                 ___________________________
                                                 Honorable Cathleen D. Parker 11/19/2018
                                                 United States Bankruptcy Court
                                                 District of Colorado
